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                         IN THE UNITED STATES DISTRICT COURT
                           STATE OF UTAH, CENTRAL DIVISION


   ESTATE OF PATRICK HARMON SR.;
   PATRICK HARMON II, as Personal
                                                            ORDER GRANTING [ECF 101]
   Representative of the Estate of Patrick
                                                           STIPULATED MOTION TO STAY
   Harmon Sr., and heir of Patrick Harmon Sr.,
                                                           EXPERT DISCOVERY PENDING
   TASHA SMITH, as heir of Patrick Harmon,
                                                            RESOLUTION OF SUMMARY
   Sr.,
                                                                JUDGMENT MOTION
                  Plaintiffs,
                                                           Case No. 2:19-cv-00553-HCN-CMR
          vs.
                                                              Judge Howard C. Nielson, Jr.
   SALT LAKE CITY, a municipality; and
                                                           Magistrate Judge Cecilia M. Romero
   OFFICER CLINTON FOX, in his individual
   capacity,

                  Defendants.


         Having considered the parties’ Stipulated Motion to Stay Expert Discovery Pending

  Resolution of Summary Judgment Motion (Motion) (ECF 101), and for good cause appearing, the

  court hereby GRANTS the Motion. Expert discovery is hereby stayed pending resolution of

  Defendants’ Motion for Summary Judgment (ECF 66). If the court denies Defendants’ Motion

  (ECF 66), in whole or in part, the parties shall submit a proposed amended scheduling order to the

  court within fourteen (14) days of the court’s ruling.

         DATED this 22 February 2023.




                                                Magistrate Judge Cecilia M. Romero
                                                United States District Court for the District of Utah
